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                            EXHIBIT A
           Case 4:21-cv-00279-MW-MJF             Document 46-2         Filed 01/20/23    Page 2 of 11


                                                                                  Greg Slate <greg@gregslate.com>



Invoice 1147 from Ernest Moody, LLC d/b/a Capital Court Services
Ernest Moody, LLC d/b/a Capital Court Services <quickbooks@notification.intuit.com>      Fri, Nov 4, 2022 at 3:09 AM
To: greg@gregslate.com

 Dear Gregory Slate,

 Here's your invoice! We appreciate your prompt payment.

 Have a great day,

 Ernest Moody, AFPS
 Capital Court Services




                                                    INVOICE 1147


                                                     INVOICE




                                                   $150.00
                                            Due December 04, 2022

                                                     Pay invoice




                                              Gregory Slate
     Bill to


                                              EXHIBIT B
        Case 4:21-cv-00279-MW-MJF         Document 46-2     Filed 01/20/23   Page 3 of 11
Gregory Slate

Invoice details
Invoice no. : 1147
Invoice date : 11/4/22




Routine Service                                                                         $50.00
1 unit × $50.00
Florida State University




Routine Service                                                                         $50.00
1 unit × $50.00
Daniel Maier-Katkin




Routine Service                                                                         $50.00
1 unit × $50.00
Amina Kamau




Total                                                                                 $150.00



                                             Pay invoice




                                    Thank you for your business.


                           Ernest Moody, LLC d/b/a Capital Court Services


                                       221 W. Park Ave. #1682
                                        Tallahassee, FL 32302

                                  ernest@capitalcourtservices.com
                                          850-273-8508
    Case 4:21-cv-00279-MW-MJF             Document 46-2          Filed 01/20/23    Page 4 of 11
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Invoice-1147.pdf
240K
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10/31/2022                                                     01:42 PM
---------------------------------------------------------------------------
Product                                   Qty            Unit      Price
                                                 Price
---------------------------------------------------------------------------
First-Class Mail®                             1                     $0.60
Letter
   Tallahassee, FL 32301
   Weight: 0 lb 0.70 oz
   Estimated Delivery Date
       Sat 11/05/2022

First-Class Mail®               1                                  $0.60
Letter
   Tallahassee, FL 32301
   Weight: 0 lb 0.80 oz
   Estimated Delivery Date
      Sat 11/05/2022
   Certified Mail®                                               $4.00
      Tracking #:
        70191640000022355498
   Return Receipt                                                 $3.25
      Tracking #:
        9590 9402 5852 0038 8772 38
Total                                                       $7.85

First-Class Mail®               1                                  $0.60
Letter
   Tallahassee, FL 32301
   Weight: 0 lb 0.60 oz
   Estimated Delivery Date
      Sat 11/05/2022
   Certified Mail®                                               $4.00
      Tracking #:
        70191640000022355306
   Return Receipt                                                 $3.25
      Tracking #:
        9590 9402 5852 0038 8772 45
Total                                                       $7.85

First-Class Mail®               1                                  $0.60
Letter
   Tallahassee, FL 32301
   Weight: 0 lb 0.60 oz
   Estimated Delivery Date
      Sat 11/05/2022
   Certified Mail®                                               $4.00
      Tracking #:
        70191640000022355597
   Return Receipt                                                 $3.25
      Tracking #:
        9590 9402 1360 5285 9329 41
Total                                                       $7.85

First-Class Mail®            1                                     $0.60
Letter
   Tallahassee, FL 32301
   Weight: 0 lb 0.50 oz
   Estimated Delivery Date
      Sat 11/05/2022
   Certified Mail®                                               $4.00
      Tracking #:
        70191640000022355474
               Case 4:21-cv-00279-MW-MJF                             Document 46-2   Filed 01/20/23   Page 6 of 11
  Return Receipt                                                  $3.25
      Tracking #:
        9590 9402 5852 0038 8772 07
Total                                                       $7.85

First-Class Mail®               1                                  $0.60
Letter
   Fort Lauderdale, FL 33324
   Weight: 0 lb 0.60 oz
   Estimated Delivery Date
      Sat 11/05/2022
   Certified Mail®                                               $4.00
      Tracking #:
        70191640000022355719
   Return Receipt                                                 $3.25
      Tracking #:
        9590 9402 5852 0038 8772 21
Total                                                       $7.85

---------------------------------------------------------------------------
Grand Total:                                                    $39.85
---------------------------------------------------------------------------
Credit Card Remit                                                  $39.85
   Card Name: VISA
   Account #: XXXXXXXXXXXX7352
   Approval #: 03938A
   Transaction #: 901
   AID: A0000000031010                    Chip
   AL: VISA CREDIT
   PIN: Not Required             CHASE VISA
---------------------------------------------------------------------------

               The timeliness of service to or from
              destinations outside the contiguous US may
              be affected by the limited availability of
                      transportation.

               In a hurry? Self-service kiosks offer
                quick and easy check-out. Any Retail
                  Associate can show you how.

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              to get the latest status. Standard Message
                and Data rates may apply. You may also
               visit www.usps.com USPS Tracking or call
                       1-800-222-1811.

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                      Track your Packages
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               All sales final on stamps and postage.
               Refunds for guaranteed services only.
                   Thank you for your business.

                  Tell us about your experience.
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                    or call 1-800-410-7420.


---------------------------------------------------------------------------

UFN: 142950-0235
Receipt #: 840-59670029-6-8507223-2
                                                                EXHIBIT C
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Clerk: 01

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to financial entities regarding financial transaction issues; to a U.S.
Postal Service auditor; to entities, including law enforcement, as required
by law or in legal proceedings; to contractors and other entities aiding us
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11/03/2022                                              11:09 AM
---------------------------------------------------------------------------
Product                               Qty          Unit      Price
                                             Price
---------------------------------------------------------------------------
First-Class Mail®                          1                  $0.60
Letter
   Tallahassee, FL 32306
   Weight: 0 lb 0.80 oz
   Estimated Delivery Date
      Tue 11/08/2022
   Certified Mail®                                           $4.00
      Tracking #:
         70191640000022355511
   Return Receipt                                           $3.25
      Tracking #:
         9590 9402 1360 5285 9329 72
Total                                                  $7.85

First-Class Mail®             1                               $0.84
Letter
  Tallahassee, FL 32301
  Weight: 0 lb 1.40 oz
  Estimated Delivery Date
     Tue 11/08/2022
  Certified Mail®                                           $4.00
     Tracking #:
        70191640000022355504
  Return Receipt                                            $3.25
     Tracking #:
        9590 9402 1360 5285 9329 65
Total                                                 $8.09

First-Class Mail®             1                               $0.60
Letter
  Virginia Beach, VA 23452
  Weight: 0 lb 0.90 oz
  Estimated Delivery Date
     Tue 11/08/2022
  Certified Mail®                                           $4.00
     Tracking #:
        70191640000022355528
  Return Receipt                                            $3.25
     Tracking #:
        9590 9402 1360 5285 9329 58
Total                                                 $7.85

---------------------------------------------------------------------------
Grand Total:                                              $23.79
---------------------------------------------------------------------------
Debit Card Remit                                             $23.79
   Card Name: VISA
   Account #: XXXXXXXXXXXX0983
   Approval #: 059381
             Case 4:21-cv-00279-MW-MJF Document 46-2                          Filed 01/20/23   Page 9 of 11
   Transaction #: 389
   Receipt #: 051490
   Debit Card Purchase: $23.79
   AID: A0000000980840                 Chip
   AL: US DEBIT
   PIN: Verified
---------------------------------------------------------------------------

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            destinations outside the contiguous US may
            be affected by the limited availability of
                     transportation.

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            to get the latest status. Standard Message
             and Data rates may apply. You may also
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                  or call 1-800-410-7420.


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UFN: 149602-0291
Receipt #: 840-59670007-2-8162939-2
Clerk: 10

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following limited circumstances: to a congressional office on your behalf;
to financial entities regarding financial transaction issues; to a U.S.
Postal Service auditor; to entities, including law enforcement, as required
by law or in legal proceedings; to contractors and other entities aiding us
to fulfill the service (service providers); to process servers; to domestic
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                                                     EXHIBIT D
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                                                                           INVOICE NUMBER: Bellwether-police20_111022A
                                                                              INVOICE DATE: 11/23/2022
Bellwether Law
Janakan Thiagarajah, Esq.
4315 50th ST NW
Ste 100, #7017
Washington, , DC 20016
                                           PAYMENT DUE ON RECEIPT

DESCRIPTION                                                                                              AMOUNT
[1] Exchange communications with requesting agency; [2] Review request; [3] Exchange                      $250.00
communications with systems team for processing of request; [4] Extract requested data; [5] Upload
and store requested data; [6] Respond to request
Total amount of this invoice                                                                              $250.00

MESSAGE
PLEASE LIST INVOICE NUMBER ON MEMO OF CHECK




                                                   Page 1 of 1

                                            EXHIBIT E
